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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

CASE NO. 18-cr-00142-RBJ

UNITED STATES OF AMERICA,

              Plaintiff,

v.

DANIEL MAHU,

            Defendant.
_____________________________________________________________________________

                        NOTICE OF DISPOSITION AND
              MOTION REQUESTING CHANGE OF PLEA HEARING
____________________________________________________________________________

       The defendant, DANIEL MAHU, by and through undersigned counsel, hereby notifies

this Court that a disposition has been reached in his case with the government. The defendant

would request a change of plea hearing for the court to consider the proposed plea agreement.

                                            Respectfully submitted,

                                            VIRGINIA L. GRADY
                                            Federal Public Defender


                                            s/Kelly Christl
                                            KELLY CHRISTL
                                            Assistant Federal Public Defender
                                            633 17th Street, Suite 1000
                                            Denver, CO 80202
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                                            kelly.christl@fd.org
                                            Attorney for Defendant
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                                 CERTIFICATE OF SERVICE


       I hereby certify that on June 5, 2018, I electronically filed the foregoing with the Clerk of
Court using the CM/ECF system which will send notification of such filing to the following e-
mail addresses:

       Rebecca Weber, AUSA
       Email: Rebecca.Weber@usdoj.gov

       Tim Neff, AUSA
       Email: Tim.Neff@usdoj.gov

and I hereby certify that I have mailed or served the document or paper to the following non
CM/ECF participant in the manner (mail, hand-delivery, etc.) indicated by the non-participant’s
name:

       Daniel Mahu         (via Mail)
       Reg. No. 44682-013
       c/o GEO Aurora Detention Center


                                              s/Kelly Christl
                                              KELLY CHRISTL
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